                                              Case 2:19-cv-02309-PBT Document 1 Filed 05/28/19 Page 1 of 17



 I. (a)                PLAI~TIFFS                                                                                              DEFENDANTS
     Lynee Boney                                                                                                             MyDoc Urgent Care

                (b)    County of Residence of First Listed Plamtif ·                                                           County of Residence of Fust Listed Defendant
                                            (FXCEPT lN US PLAL"'Tl                                                                                              (TN(, S PLAlWTFf CA
                                                                                                                               NOTF



                (c)    Attorney~ (Firm Name. Address and Telephone Number)                                                      Attorneys (lj Known)
     Jonathan Chase, Esq. · Kraemer Manes & Associates LLC
     1628 JFK Blvd, Suite 1650, Philadelphia, PA 19103
     (215) 475 3504 Direct

 II. BASIS OF JURISl?SD·N (Place an                                        X" m011eBox011lyJ                     Ill. CITIZENSHIP OF                   PRI~CIPAL PARTIESrPtacean x tnOneBoxforPlatnttff
                                                                                                                           (For Diversity Cases Only)                       and One Box for Defendant)
 '.1 I             l: S Government
                      Plaintiff
                                                   ~ 3         ederal Question
                                                                (US Government Not a Party)                           Citizen of This State
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     VI. CAt:SE OF ACTION
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                                                         Bnef description of cause
                                                           Title VII - PDA · ADA · PA MWA
     VII. REQGESTED IN                                   ~ CHECK IF THIS IS A CLASS ACTION                               DEMAND$
                      COMPLAI~T:                               CNUtR RCU. 23,         r R.Cv P
     VIII. RELATED CASE(S)
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                       IF   A~Y                                                     Jl,'DGE                                                                      DOCKET NUMBER
     DATE                                                                                 SIGNATURE OF ATTORNEY OF RECORD
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                            Case 2:19-cv-02309-PBT  Document 1 Filed 05/28/19 Page 2 of 17                                                                          0
                                                      R THE       EA~TER.~ DISTRICT OF PENNSYLVA,~IA                                                    ~3()I
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                                                                    4DESIGNATIO'.'I FORM                                                  ft           2309
                                                                           cate~ory of the case for the ~urpose of as~1gnment to the apif{g1te calendar.
Address of Plaintiff:                                      41 E Washt~gton Ln, Phtladelph~a, PA 19144                                           _________ _
Address of Defendant. 1420 Locu~t St~eet. Philadelphia. PA_ ~9102 & 3717 Chest~u! ~t~:~t._ Su1te 202. P~ilad_elphi~ _PA 19102

Place of Accident, Incident or Transaction                                  1420 Locust Street, Philadelphia, PA 1910


RELATED CASE, IF ANY:

Case Number                                                   Judge. _ _ _ _                                             Date Termmated.

Civil cases are deemed related when Yes is answered to any of the followmg quest10ns

      ls this case related to property mcluded m an earlier numbered sutt pendmg or w1thm one year                          YesD
      prev10usly terrnmated act10n m this court?

2     Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor Sutt                       YesD                No~
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3     Does this case mvolve the validity or mfrmgement ofa patent already m sutt or any earlier                             YesO                No~
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4     l5 this case a second or :>uccess1ve habeas corpus, social secunty appeal, or prose civil nghts                       YesD
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I certify that, to my knowledge, the w1thm case      D   is   I   [!] i not related to any case now pendmg or w1thm one year prev10usly terrnmated action m
this court except a:> noted above
                                                                        111:1
DATE      05/24/2019                                                    <1v~-                                                              312448
                                                                    ~ornev-at-La....~. Pr~S~ Platnuff                                 Attorney ID #Of applicable}


CIVIL: (Place a ..,/ in one category only)

A.           Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

01           Indernmty Contract, Manne Contract, and All Other Contracts               01            Insurance Contract and Other Contracts
0 2          FELA                                                                      O 2           Airplane Personal Injury
03           Jones Act-Personal Injury                                                 0 3.          Assault, Defamat10n
0 4          Antitrust                                                                 D        4    Manne Personal Injury
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0            Habeas Corpus                                                             0 s           Products L1ab1hty Asbestos
             Secunt1es Act(s) Cases                                                    0 9           All other D1vers1ty Cases
             Social Secunty Review Cases                                                             (Please specify}
             All other Federal Quest10n Cases
             (Please spectfy)      Tille YJl :.PDA - ADA· PA MWA


                                                                        ARBITRATION CERTIFICATION
                                               (The effect of this ceruficatwn is to remove the case from elig1b1l1ty for arh1trat1on }

I,        __Jo~atha~         C~_a_se_, _~~q.             counselofrecordorproseplamt1ff,doherebycert1fy

              Pursuant to Local C1v1l Rule 53 2, § 3(c) (2), that to the be:>t of my knowledge and belief, the damages recoverable m this c1VII act10n case
              exceed the sum of $150,000 00 exclusive of interest and costs

              Relief other than monetary damages is sought.                                                                               HAY 28 2Q19
DATh      _05/2_4/20_19_ __                                             (!Cfvv-<-                            -                             312448
                                                                  ~o~ev~a~·La»         i   Pn; Se Plamt1ff                           Attorney ID #fl/ applicable)

NOTE A Ina! de novo will be a Ina! by Jury only 1f there has been compliance With F R C P 38

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                                                   pro se plamfljf to,1,~cate the category of the case for the purpose of assignment to the appropriate calendar)
                       ~'                           .,   "   ... __ ,.   .~
Address of Plamtiff~~,,                ,.?   ..                          41 E Washington Ln, Philadelphia, PA 19144
Address of Defendant. 1420 Locust Street, Philadelphia, PA 19102 & 3717 Chestnut Street, Suite 202, Philadelphia, PA 19102

Place of Accident, Incident or Transaction ______                                     1420 Locust Street, Philadelphia, PA 191 O
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RELATED CASE, IF ANY:

Case l\iumber                                                             Judge.                                                   Date Termmated

C1v1J cases are deemed related when Yes is answered to any of the followmg quest10ns

       ls th10. case related to property mcluded m an earher numbered smt pendmg or w1thm one year
       prev10usly termmated action m this court"
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2      Does this case mvolve the same ISsue of fact or grow out of the same transact10n as a pnor suit
       pendmg or w1thm one year prev10usly termmated action m this court"
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3      Does this case mvolve the validity or mfnngement of a patent already m smt or any earlier
       numbered case pendmg or w1thm one year prev10usly termmated action ofth1s court?
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4      ls this case a second or successive habeas corpus, social secunty appeal, or prose civil nghts
       case filed by the same md1v1dua!?
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I certify that, to my knowledge, the w1thm case
this court except as noted above.

DA TE       05/24/201 9                                                                                                                               312448
                                                                                                                                                 Attorney ID #(if applzcable)


CIVIL: (Place a " in one category only)

A.            Federal Question Cases:                                                             B.     Diversity Jurisdiction Cases:

0      i.     lndemmty Contract, Manne Contract, and All Other Contracts                          01          Insurance Contract and Other Contracts
O      2      FELA                                                                                O 2         Airplane Personal Injury
03            Jones Act-Personal Injury                                                           03          Assault, Defamation
0      4      Antitrust                                                                           0      4    Manne Personal Injury
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0 s           Habeas Corpus                                                                       0      8    Products L1ab1hty - Asbestos
       9.     Secunt1es Act(s) Cases                                                              0      9    All other D1vers1ty Cases
       10     Social Secunty Review Cases                                                                      (Please specify)
       11     All other Federal Quest10n Cases
              (Please specify) _    Title_V!L- PPA - ADA - PA MWA


                                                                                   ARBITRATION CERTIFICATIO"I
                                                         (The effect of this certification 1s to remove the case from elzg1b1ltty for arb1trat10n)

             Jonathan Chase, E~q:____, counsel of record or pro 5e ptamttff, do hereby certify
              Pursuant to Local C1v1l Rule 53.2, § 3(c) (2), tliat to the best of my knowledge and behef, the damages recoverable m this ctvtl action case
              exceed the sum of $1 50,000 00 exclusive of mterest and costs

              Rehef other than monetary damages 1s sought                                                                                            HAY 28 2019
DATE        05/24/2019                                                          (/(hr-<- --- -                                                        312448
                                                                               ~mey·at· Law      1   Pro Se Plamt1fj                             Attorney ID   #   (zf applicable)

NOTE A tnal de novo will be a tnal by 1ury only tf there has been comphance with FR C P 38

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                          Case 2:19-cv-02309-PBT Document 1 Filed 05/28/19 Page 4 of 17

                                u'     IN THE UNITED STATES DISTRICT COURT
                                   FOR \HE EASTERN DISTRICT OF PENNSYL VA~IA

                                ,..,. ..,..,,..all'
                                                      CASE MANAGEMENT TRACK DESIGNATIO~ FORM
     Lynee   ~eY'      · ~,.,                                                                    CIVIL ACTION

                                                       V.                                         19           2309
     MyDoc Urgent Care                                                                           NO.

             In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
             plaintiff shall complete a Case .Management Track Designation Form in all civil cases at the time of
             filing the complaint and serve a copy on all defendants. (See§ l :03 of the plan set forth on the reverse
             side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
             designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
             the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
             to which that defendant believes the case should be assigned.

             SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

             (a) Habeas Corpus - Cases brought under 28 C.S.C. § 2241 through§ 2255.                              (

             (b) Social Security - Cases requesting review of a decision of the Secretary of Health
                 and Human Services denying plaintiff Social Security Benefits.                                   ( )
             (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )
             (d) Asbestos - Cases involving claims for personal injury or property damage from
                 exposure to asbestos.                                                                            ( )
             (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
                 commonly referred to as complex and that need special or intense management by
                 the court. (See reverse side of this form for a detailed explanation of special
                 management cases.)

             (f) Standard Management - Cases that do not fall into any one of the other tracks.



             5/24/2019                                            Jonathan Chase, Esq.   Lynee Boney
             Date                                                     Attorney-at-law         Attorney for
             (215) 475 3504 Direct                                (215) 734 2466 Fax       iwc@lawkm.com

             Telephone                                                 FAX Number             E-Mail Address


             (Civ. 660) 10/02
              Case 2:19-cv-02309-PBT Document 1 Filed 05/28/19 Page 5 of 17
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                                  Civil Justice Expense and Delay Reduction Plan
                                 Section l :03 - Assignment to a Management Track

        (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

        (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
    plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
    track designation form specifying that the plaintiff believes the case requires Standard Management or
    Special Management. In the event that a defendant does not agree with the plaintiff regarding said
    designation. that defendant shall, with its first appearance, submit to the clerk of court and serve on the
    plaintiff and all other parties, a case management track designation form specifying the track to which that
    defendant believes the case should be assigned.

        (c)        The court may, on its own initiative or upon the request of any party, change the track
    assignment of any case at any time.

         (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
    pending before that judicial officer, to direct pretrial and trial proceedmgs that are more stnngent than those
    of the Plan and that are designed to accomplish cost and delay reduction.

         (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72. l, or the
    procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
    of the court.

                                SPECIAL MANAGEMENT CASE ASSIGNMENTS
                                 (See §l.02 (e) Management Track Definitions of the
                                  Civil Justice Expense and Delay Reduction Plan)

         Special Management cases will usually include that class of cases commonly referred to as "complex
    litigation·· as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
    in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
    intended to include cases that present unusual problems and require extraordinary treatment. See §0. l of the
    first manual. Cases may require special or intense management by the court due to one or more of the
    following factors: ( 1) large number of parties; (2) large number of claims or defenses; (3) complex factual
    issues; (4) large volume of evidence; (5) problems locating or preservmg evidence; (6) extensive discovery;
    (7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
    short time; and (9) need to decide prehminary issues before final disposition. It may include two or more
    related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
    number of parties or an unincorporated association of large membership; cases involving requests for
    injunct.J.ve relief affecting the operation of large business entities; patent cases; copyright and trademark
    cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
    by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
    potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
    factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
    Second, Chapter 33.
--           Case 2:19-cv-02309-PBT Document 1 Filed 05/28/19 Page 6 of 17


                                                              JONATHA."l   w CHASE    8 PFNN CtNH.R
                                                                           PART'NhR   1628JFKBLVD.St,1n 1650
                                                          DIRE.C'I (215)475-3504      PHILA.')fLPHlA, PA 19103
                                                          FAX      (215)734-2466      0FTKF (215)618-9185
                                                             JWCfil_-AWKMCOM          WWWLAWKMCOM


                                               May 24, 2019

     Via Certified Mail
     Clerk's Office
     James A. Byrne U.S. Courthouse
     60 I Market Street, Room 2609
     Philadelphia, PA 19106-1797

           Re:        Lynee Boney v. MyDoc Urgent Care

     Dear Sir/Madam:

           Enclosed please find the following with respect to the above matter:

                  •   Original Copy of the Complaint;
                  •   Civil Cover Sheet;
                  •   Two (2) copies of the Designation Form;
                  •   Case Management Track Designation Form;
                  •   ECF Validation of Signature Form;
                  •   A CD with a copy of each of the aforementioned documents; and
                  •   A check in the amount of $400 for the requisite filing fee.

            Please contact me if you have any questions or concerns regarding the above.

                                                                                           Very Truly Yours,




                                                                                    Jonathan Chase, Esq.
                                                                      Attorney for Plaintiff, Lynee Boney

     Enclosures
               Case 2:19-cv-02309-PBT Document 1 Filed 05/28/19 Page 7 of 17


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                                 lJNITED ST ATES DISTRICT COURT
                               EASTERl'l DISTRICT OF PENNSYLVANIA

$ ~tt{yneeBoney,
             Plaintiff,

       V.
                                                                            !9           2309
       MyDoc Crgent Care,                              Case No.

             Defendant.

                                                       JURY TRIAL DEMANDED




                                                COMPLAINT

             NOW COMES Plaintiff, Lynee Boney (hereinafter referred to as "Plaintiff'), by and

      through her attorneys and files this Complaint alleging as follows:

                                        NATURE OF THE ACTION

              I.     Plaintiff initiates this action to redress violations of Hampton Inn (hereinafter

      referred to as "Defendant") Title VII of the Civil Rights Act of 1964 ('"Title VII" - 42 U.S.C. §§

      2000e, et seq.), as amended by the Pregnancy Discrimination Act of 1978 ("PDA"),                 the

      Americans With Disabilities Act ("ADA" - 42 U.S.C. §§ 12101, et seq.), the Fair Labor Standards

      Act ("FLSA" - 29 U.S.C. §§ 201, et seq.), and the Pennsylvama Ylinimum Wage Act ("PA MWA"

        43 P.S. §§ 333.101, et seq.).

                                        JURISDICTION AND VENUE

             2.      This action is initiated pursuant to federal law. The United States District Court for

      the Eastern District of Pennsylvania has original subject matter jurisdiction over this action

      pursuant to 28 U.S.C. § 1331 because the claims arise under the laws of the United States.
          Case 2:19-cv-02309-PBT Document 1 Filed 05/28/19 Page 8 of 17



        3.       This Court may properly maintain personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction in

order to comply with traditional notions of fair play and substantial justice, satisfying the standard

set forth by the United States Supreme Court in     b;it~:rnati9nal   Shoe Co. v. Washington, 326 C.S.

310 (1945) and its progeny.

        4.       Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(l) and

(b)(2) because Defendant resides in and/or conducts business in this judicial district and because

a substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred in

this judicial district.       ,   <


                          '

        5.       Plaintiff filed a Charge of Discrimination and retaliation with the Equal

Employment Opportunity Commission ('"EEOC''). Plaintiff has properly exhausted her

administrative proceedings with respect to her EEOC claims by instituting the instant action within

ninety (90) days of receiving a right to sue letter from the EEOC. (See         ~otice   of Right to Sue,

attached hereto as "Exhibit A.")

                                              PARTIES

        6.       The forgoing paragraphs are incorporated in their entirety as if set forth in full.

        7.       Plaintiff is an adult individual with a primary residence located at 41

E Washington Ln, Philadelphia, PA 19144.

        8.       Defendant is a limited liability company with a place of business located at 1420

Locust Street, Philadelphia, PA 19102.

        9.       Cpon information and belief, Defendant also has a location at 3717 Chestnut Street,

Suite 202, Philadelphia, PA 19102.
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                                         FACTUAL BACKGROUND

        10.       The forgoing paragraphs are incorporated in their entirety as if set forth in full.

        11.       Plaintiff was hired by Defendant as a Medical Assistant in about September of

2016.

        12.       In December of 2017, Plaintiff learned that she was pregnant.

        13.       While at work on about February 8, 2018, Plaintiff was rushed to the hospital due

to complications related to her pregnancy. Plaintiffs treating physician placed on her on a bed

rest restriction for about one ( 1) week, and instructed her to not return to work until February 16,

2018.

        14.       On about February IO, 2018, Plaintiff advised Defendant's Owner, Jingjing Cai

("Ms. Cai") that she had been placed on bedrest at the direction of her treating physician and

because of pregnancy-related complications. In response, Ms. Cai told Plaintiff that her hours

would be reduced.

        15.       On February 16, 2018, Plaintiff returned to work and provided Ms. Cai with a note

from her treating physician.

        16.       After returning work, Plaintiff was subjected to a pattern of pregnancy-related

antagonism by Ms. Cai; including the following:

              •   Ms. Cai told told Plaintiff that her work performance was deficient
                  because of her pregnancy; and
              •   Ms. Cai significantly reduced Plaintiffs hours.

        17.       In about early to mid-March of 2018, Plaintiff complained to Ms. Cai and stated

that she believed the only reason     ~s.   Cai reduced her hours was because she was pregnant and

had taken time off from work because of complications related to her pregnancy.
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       18.       On about March 29, 2018, Ms. Cai accused Plaintiff of errors with respect to testing

for patients, and further, told Plaintiff that would no longer be scheduled to work as a Medical

Assistant, but instead would be assigned to work at the front desk. This change would result in

Plaintiff working only about five (5) hours per week.

       19.       Because of the forgoing harassment, and the significant reduction of her hours,

Plaintiff did not return to work for Defendant.

       20.       Plaintiff avers that she was constructively terminated from employment because of

her pregnancy.

       21.       In addition to the above during about the first two (2) months of her employment,

Plaintiff regularly worked between fifty (50) and seventy (70) hours per week.

       22.       Despite working in excess of forty (40) hours per week, Plaintiff was only paid

straight time. That is, Plaintiff was not paid any overtime wages.

       23.       Defendant willfully failed to pay Plaintiff overtime wages.

                                            Count I
                                Violations of Title VII and PDA
                           (Pregnancy Discrimination and Retaliation)

       24.       The forgoing paragraphs are incorporated in their entirety as if set forth in full.

       25.       Title VII makes it an unlawful employment practice to discharge any individual or

otherwise discriminate against any individual with respect to her employment because of such

individual's sex.

       26.       Title VII, as amended by the PDA, defines the terms "because of sex" or "on the

basis of sex" to include pregnancy, childbirth, or related medical conditions.
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        27.      Title VII, as amended by the PDA states that women affected by pregnancy,

childbirth, or related medical conditions shall be treated the same for all employment-related

purposes as other persons no so affected but similar in their ability to work.

        28.      Defendant's conduct, as described above, constitute violations of Title VII and the

PDA.

                                                Count II
                                        Violations of Title ADA
                                    (Discrimination and Retaliation)

        29.      The forgoing paragraphs are incorporated in their entirety as if set forth in full.

        30.      Complications arising out of pregnancy are considered disabilities within the

meaning of the ADA. 1

        31.      As described m detail above, Plaintiff suffered from pregnancy-related

complications.

        32.      As a result of her pregnancy-related complications, Plaintiff requested reasonable

accommodations.

        33.      Defendant failed to grant Plaintiffs request for reasonable accommodations.

        34.      Within a close temporal proximity of Plaintiffs request for reasonable

accommodations arising out of her pregnancy-related complications, she was subjected to adverse

action, including but not limited to: l) being threatened with termination even if she presented a

doctor's note; 2) being required to perform work that was outside the scope of her pregnancy-

related physical limitations; and 3) being constructively discharged from employment due to

Defendant's unwillingness to grant her request for accommodations.


1
  See Varone v. Great Wolf Lodge of the Poconos, LLC, 2016 WL 1393393 (M.D Pa. 2016). See also Oltver v.
Scranton Materials, Inc., 2015 WL 1003981 (M.D Pa. 2015) ("[C]ourts mterpretmg the [ADA] m ltght of the 2008
amendment have found that complications ans mg out of pregnancy can constitute a d1sab1hty sufficient to invoke the
ADA, and that whether they actually nse to the level of d1sab1lity 1s a question of fact.") (emphasis m onginal).
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       35.     The forgoing conduct constitutes violations of the ADA.

                                            Count Ill
                                     Violations of the FLSA
                                    (Failure to Pay Overtime)

       36.     The foregoing paragraphs are incorporated in their enurety as if set forth in full.

       37.     Defendant is an employer as defined by the FLSA.

       38.     At all times relevant herein, Plaintiff was an employee of Defendant as defined by

the FLSA.

       39.     Pursuant to the FLSA all nonexempt employees must be paid at the rate of one and

one-half times their regular rate for all hours worked in excess of forty (40) hours in a week.

       40.     At all times relevant herein, Plaintiff's job was such that she does not qualify as an

exempt employee under the FLSA.

       41.     Defendant violated the FLSA insofar as Defendant failed to pay Plaintiff overtime

wages as required by the FLSA for hours worked in excess of forty (40) hours per week.

       42.     Defendant's failure to pay Plaintiff overtime was willful, intentional and malicious

insofar as Defendant knew or should have known that Plaintiff was entitled to overtime, yet failed

to comply with its obligations pursuant to the FLSA.

       43.     The abpve actions constitute violations of the FLSA.

       44.     Plaintiff is entitled to damages incurred within the three (3) years preceding the

filing of this Complaint because Defendant acted willfully and knew that its conduct              wa~


prohibited by the FLSA.

       45.     Defendant lacks any good faith or reasonable grounds to believe that its failure to

pay Plaintiff overtime was not a violation of the FLSA. Plaintiff is therefore entitled to recover

liquidated damages as prescribed by the FLSA.
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                                             Count IV
                                    Violations of the PA MW A
                                    (Failure to Pay Overtime)

       46.     The foregoing paragraphs are incorporated in their entirety as if set forth in full.

       4 7.    Defendant is an employer as defined by the PA MW A.

       48.     Defendant violated the overtime provisions of the PA MW A insofar as Defendant

failed to pay Plaintiff the requisite overtime wages for all hours worked in excess of forty (40)

hours per week.

       49.     Defendant violated the PA MWA by virtue of its failure to adequately inform

Plaintiff of the applicable requirements of the PA MW A.

       50.     Defendant's failure to pay Plaintiff overtime was willful, intentional and malicious

insofar as Defendant knew or should have known that Plaintiff was entitled to overtime, yet failed

to comply with its obligations pursuant to the PA MW A.

       WHEREFORE, Plaintiff prays that this Honorable Court enter an order that:

       A.      Defendant is to be prohibited from continuing to maintain its illegal policy, practice

or custom of discriminating/harassing/retaliating against employees and is to be ordered to

promulgate and effective policy against such unlawful acts and to adhere thereto;

       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant's

illegal actions, including but not limited to past lost earnings, future lost earnings, salary. pay

increases, bonuses, medical and other benefits, training, promotions and seniority. Plaintiff should

be accorded those benefits illegally withheld from the date she first suffered retaliation at the hand

of Defendant until the date of verdict;
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       C.      Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount determined by the Court or trier of fact to be appropriate to punish Defendant for its

willful, deliberate, malicious and outrageous conduct and to deter Defendant or other employees

from engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper and appropriate, including but not limited to, emotional distress and/or pain

and suffering damages (where legally permitted);

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable legal

fees as provided by applicable law;

       f'.     Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable law; and

       G.      Plaintiffs claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff also has endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b ).

                                                             Respectfully Submitted,




                                                             Jonathan W. Chase, Esquire
                                                             KRAEMER, MANES &
                                                             ASSOCIATES LLC
                                                             PA ID: 312448
                                                             1628 JFK Blvd.
                                                             Suite 1650
                                                             Philadelphia, PA 19102
                                                             (215) 475 3504 Direct
                                                             (215) 734 2466 Fax
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                                             jvvc@l~l_wkm.com
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                          EXHIBIT A
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  -.•
 EEOC Form 161-8 (11/16)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO              SUE (ISSUED ON REQUEST)
To:     Lynee N. Boney                                                                From:     Philadelphia District Office
        41 E. Washington Lane                                                                   801 Market Street
        Philadelphia, PA 19144                                                                  Suite 1300
                                                                                                Philadelphia, PA 19107




      D           On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                            Telephone No.

                                                         Legal Unit,
 530-2018-03336                                          Legal Technician                                               (215) 440-2828
                                                                                    (See a/so the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Dfsab11lties Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

      m           More than 180 days have passed since the filing of this charge.

      D           Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
      [!]         The EEOC is terminating its processing of this charge.

      D           The EEOC will continue to process this charge.

Age Discrimination In Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
      D           The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed In federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

      D          The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 vears (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.


                                                                          On behalf of the Commission




 Enclosures(s)                                                           ~'--
                                                                       Jamie R. Williamson,
                                                                         District Director

cc:           Jing Jing Cai                                                           Christa Levko, Esq.
              Owner                                                                   KRAEMER, MANES & ASSOCIATES LLC
              MYDOC URGENT CARE                                                       1628 John F. Kennedy Blvd., Suite 1650
              1420 Locust Street                                                      Philadelphia, PA 19103
              Philadelphia, PA 19102
